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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, ET AL.                                   CIVIL ACTION

VERSUS                                                       NO. 3:22-CV-00178

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana



                                              ORDER

                  Considering the foregoing Motion for Leave to Substitute Pleading,

        IT IS ORDERED, that the Motion for Leave to Substitute Pleading filed by Defendant,

Nancy Landry, is GRANTED, thereby substituting the attached Motion to Withdraw Counsel of

Record, and allowing the withdrawal of Charlton J. Meginley as counsel of record for Defendant

in this matter.

        Baton Rouge, Louisiana, on this _____ day of ___________, 2024.




                          ________________________________________
                                           JUDGE
                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA




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